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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                     8:17CR14

       vs.
                                                                        ORDER
OPAL HARRIS,

                       Defendant.


       This matter is before the court on defendant's unopposed MOTION TO EXTEND
PRETRIAL MOTION DEADLINE [26]. For good cause shown, I find that the motion should
be granted. The defendant will be given an approximate 90-day extension. Pretrial Motions
shall be filed by June 7, 2017.


       IT IS ORDERED:
       1.      Defendant's unopposed MOTION TO EXTEND PRETRIAL MOTION
DEADLINE [26] is granted. Pretrial motions shall be filed on or before June 7, 2017.
       2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between today’s date and June 7, 2017, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial
Act for the reason defendant's counsel required additional time to adequately prepare the case,
taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).


       Dated this 9th day of March, 2017.

                                                     BY THE COURT:

                                                     s/ F.A. Gossett, III
                                                     United States Magistrate Judge
